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                                              12
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                         ATTO RNEY S AT LAW




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                                                                                   UNITED STATES DISTRICT COURT
                                              14
                                                                              NORTHERN DISTRICT OF CALIFORNIA
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                                                   BRENNA DICKERSON, Individually and on            Case No.: 3:23-cv-01320-AMO
                                              17   behalf of all others similarly situated,
                                                                                                    DECLARATION OF FELIX S. LEE IN
                                              18                      Plaintiff,                    SUPPORT OF DEFENDANTS’
                                                                                                    MOTION TO DISMISS SECOND
                                              19           v.                                       AMENDED CLASS ACTION
                                                                                                    COMPLAINT
                                              20   ANDY MACMILLAN and USERTESTING,
                                                   INC.,                                            Date:       December 19, 2024
                                              21                                                    Time:       2:00 p.m.
                                                                      Defendants.                   Courtroom: 10, 19th Floor
                                              22                                                    Judge:      Hon. Araceli Martínez-Olguín
                                                                                                    Trial Date: None set
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                                                   DECL OF FELIX LEE ISO DEFENDANTS’ MOTION TO                       Case No.: 3:23-cv-01320-AMO
                                                   DISMISS SECOND AMENDED CLASS ACTION
                                                   COMPLAINT
                                                   Case 3:23-cv-01320-AMO              Document 71-4       Filed 11/07/24   Page 2 of 3




                                               1           I, Felix S. Lee, declare:

                                               2           1.      I am a member of the bar of this Court, and a partner at Fenwick & West LLP,

                                               3   counsel for defendants Andy MacMillan and UserTesting, Inc. (“UserTesting” or the

                                               4   “Company”). I submit this declaration in support of Defendants’ Motion to Dismiss Second

                                               5   Amended Class Action Complaint.

                                               6           2.      Attached as Exhibit 1 are excerpts taken from a true and correct copy of

                                               7   UserTesting’s Definitive Proxy Statement, filed by the Company with the Securities Exchange

                                               8   Commission (“SEC”) on December 6, 2022.

                                               9           3.      Attached as Exhibit 2 is a true and correct copy of UserTesting’s Supplemental

                                              10   Proxy Statement, filed by the Company with the SEC on December 28, 2022.

                                              11           4.      Attached as Exhibit 3 is a true and correct copy of UserTesting’s February 28,

                                              12   2022, quarterly and full year earnings release entitled “UserTesting Reports Fourth Quarter and
F ENW ICK & W ES T LLP




                                                   Full Year 2021 Financial Results,” which was filed with the SEC on that same date as an exhibit
                         ATTO RNEY S AT LAW




                                              13

                                              14   to Form 8-K.

                                              15           5.      Attached as Exhibit 4 is a true and correct copy of UserTesting’s May 4, 2022,

                                              16   quarterly earnings release entitled “UserTesting Reports First Quarter 2022 Financial Results,”

                                              17   which was filed with the SEC on that same date as an exhibit to Form 8-K.

                                              18           6.      Attached as Exhibit 5 is a true and correct copy of UserTesting’s August 4, 2022,

                                              19   quarterly earnings release entitled “UserTesting Reports Second Quarter 2022 Financial Results,”

                                              20   which was filed with the SEC on that same date as an exhibit to Form 8-K.

                                              21           7.      Attached as Exhibit 6 is a true and correct copy of UserTesting’s October 27, 2022,

                                              22   quarterly earnings release entitled “UserTesting Reports Third Quarter 2022 Financial Results,”

                                              23   which was filed with the SEC on that same date as an exhibit to Form 8-K.

                                              24           8.      Attached as Exhibit 7 is a true and correct copy of a document entitled “Long Term

                                              25   Financial Plan: 2023-2025,” dated September 1, 2022, as produced by UserTesting to plaintiff in

                                              26   response to an inspection demand made by plaintiff under 8 Del. C. § 220 (“Section 220 demand”).

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                                                   DECL OF FELIX LEE ISO DEFENDANTS’ MOTION TO         1                    Case No.: 3:23-cv-01320-AMO
                                                   DISMISS SECOND AMENDED CLASS ACTION
                                                   COMPLAINT
                                                   Case 3:23-cv-01320-AMO          Document 71-4          Filed 11/07/24   Page 3 of 3




                                               1          9.      Attached as Exhibit 8 is a true and correct copy of a PowerPoint presentation

                                               2   entitled “Board Presentation,” dated September 10, 2022, as produced by UserTesting to plaintiff

                                               3   in response to plaintiff’s Section 220 demand.

                                               4          10.     Attached as Exhibit 9 is a true and correct copy of a PowerPoint presentation

                                               5   entitled “Valuation Materials Underlying Fairness Opinion,” dated October 26, 2022, as produced

                                               6   by UserTesting to plaintiff in response to plaintiff’s Section 220 demand.

                                               7

                                               8          I declare under penalty of perjury under the laws of the United States that the foregoing is

                                               9   true and correct. Executed November 7, 2024 in Mountain View, California.

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                                              11                                                 /s/ Felix S. Lee
                                                                                                      Felix S. Lee
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F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




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                                                   DECL OF FELIX LEE ISO DEFENDANTS’ MOTION TO        2                     Case No.: 3:23-cv-01320-AMO
                                                   DISMISS SECOND AMENDED CLASS ACTION
                                                   COMPLAINT
